                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

UNITED STATES OF AMERICA,                           )
                                                    )
                       Plaintiff,                   )
                                                    )
v.                                                  )             No. 3:09-CR-38
                                                    )             (VARLAN/SHIRLEY)
LISA LOCKRIDGE,                                     )
                                                    )
                       Defendant.                   )


                                MEMORANDUM AND ORDER

        All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

§ 636(b) for disposition or report and recommendation regarding disposition by the District Court

as may be appropriate. The parties appeared before the Court on October 8, 2009, to address this

case’s status and pending pretrial motions. Assistant United States Attorney David Lewen was

present representing the Government. Attorney Mike Whalen was present representing the

Defendant. Although the Court was prepared to hearing arguments on the pretrial motions that were

pending at that time, the parties represented to the Court that it was likely the Defendant would enter

into a plea agreement in this matter and that addressing the motions would be unnecessary.

        On October 13, 2009, the parties represented to the Court that the Defendant has entered into

a plea agreement and a change of plea hearing has been scheduled. The parties represented that this

matter is no longer proceeding to trial, and the Defendant agreed that her pretrial motions are now

moot.




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       Accordingly, the Court finds that the Defendant’s Motion for Hearing to Determine the

Existence of Conspiracy [Doc. 40], Motion to Require the Government to Reveal Any Agreements

With or Concessions to Witnesses That May Influence Their Testimony [Doc. 42], Motion for

Agents, Officers, and Employees to Retain Rough Notes [Doc. 43], and Motion for Agents, Officers,

and Employees to Disclose and Provide Evidence in their Possession, Custody, or Control to the

Prosecuting Attorney [Doc. 45] are moot, and they are DENIED AS MOOT.

       IT IS SO ORDERED.

                                                   ENTER:


                                                     s/ C. Clifford Shirley, Jr.
                                                   United States Magistrate Judge




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